        Case 1:25-cv-00660-RJL     Document 14     Filed 03/11/25    Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 Ward Brehm,

               Plaintiff,

 v.
                                                  Civil Case No. 25-cv-660
 Pete Marocco, et al.,

               Defendants.




                   RESPONSE TO DEFENDANTS’ NOTICE OF
                       SUPPLEMENTAL AUTHORITY

      Defendants read too much into Dellinger. The bulk of the D.C. Circuit’s opinion

addressed the significant power of the Special Counsel, a principal officer with broad

investigative and enforcement authority. See Slip Op. 3-5. Defendants have not

argued that Brehm is a principal officer. And as Brehm has already shown, he is not.

Pl.’s Mem. at 18-19.

      Turning to injury, the Court held that whether removal from office is an

irreparable injury “is dependent upon the circumstances of the particular case.” Slip

Op. 7 (quoting Nken v. Holder, 556 U.S. 418, 433 (2009)). Finding that Dellinger

would not suffer irreparable injury, the Court reasoned that, at worst, Dellinger

“would remain out of office for a short period of time.” Id. The Court contrasted that

injury to the government’s injury: the sidelining of the Acting Special Counsel—

again, a principal officer who wields significant executive power. Id. 6-7.



                                           1
        Case 1:25-cv-00660-RJL     Document 14       Filed 03/11/25   Page 2 of 3




    Here, as already explained, Brehm would not simply “remain out of office for a

short period of time.” Id. Defendants have made clear that Brehm effectively will have

no office to return to—if Defendants have their way, even if Brehm prevails, it would

be “virtually impossible” for USADF to restart its work. Ex. H, Supp. Feleke Decl.,

¶ 24; see also, e.g., Brett Murphy (@BrettMmurphy) X (March 11, 2025 11:40am)

https://perma.cc/A5SW-HCBQ (ProPublica reporting that USAID staff have been

directed to deal with classified and personnel records by shredding “as many

documents first, and reserve the burn bags for when the shredder becomes

unavailable or needs a break”). Defendants, on the other hand, will not be forced to

sideline any properly appointed acting principal officer nor deal with the fallout of

the actions of a principal officer who wields extensive power. Instead, they will simply

be directed to follow the host of laws (both statutory and constitutional) that they are

dead set on ignoring. And if Defendants ultimately prevail, they can navigate the

requirements of the Executive Order and Congress’s $45 million appropriation at that

time.


 March 11, 2025                                Respectfully submitted,

                                               _/s/Bradley Girard_________________
                                               Bradley Girard (DC Bar No. 1033743)
                                               Joel McElvain (DC Bar No. 448431)
                                               Orlando Economos*
                                               Robin F. Thurston (DC Bar No. 1531399)
                                               Skye Perryman (DC Bar No. 984573)
                                               Democracy Forward Foundation
                                               P.O. Box 34553
                                               Washington, DC 20043
                                               (202) 448-9090
                                               bgirard@democracyforward.org

                                           2
Case 1:25-cv-00660-RJL   Document 14     Filed 03/11/25    Page 3 of 3




                                   jmcelvain@democracyforward.org
                                   oeconomos@democracyforward.org
                                   rthurston@democracyforward.org
                                   sperryman@democracyforward.org

                                   *motion to appear pro hac vice
                                   forthcoming

                                   Counsel for Plaintiff




                               3
